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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                    CLERK’S MINUTES
                                   Plea Hearing - Guilty

                          Case Number: 6:24-cr-189-PGB-EJK


UNITED STATES OF AMERICA                         Government’s
                                                 Counsel:  Kara Wick
                     Plaintiff,


v.

Meir Rosenburg                                   Defense
                                                 Counsel:     David Seltzer
                     Defendant.


 Judge:            Paul G. Byron        Court          Koretta Stanford
                                        Reporter       courtreporterstanford@gmail.com

 Deputy Clerk:     Kathleen McKinnie    Interpreter:   None
 Date:             December 2, 2024     Time:          1:31 P.M. – 1:58 PM
                                                       27 minutes

Case called. Appearances taken. Defendant sworn.

Defendant proffered a plea of Guilty as to Count 1 of the Superseding Indictment. The
Court accepts the plea and adjudicates the defendant guilty of Count 1 of the
Superseding Indictment.

Sentencing is set for February 20, 2025 at 1:30 PM.

The defendant is to remain in custody pending sentencing.

The Court orders the probation office to prepare a Presentence Investigation Report.

Court adjourned.
